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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

                                 CASE NO.: 6:19-cv-01484-CEM-LRH

 LOGAN BACHSTEIN, an individual,

           Plaintiff,
                                                       DEFENDANT’S MOTION TO TRANSFER
 v.                                                    OR, IN THE ALTERNATIVE, DISMISS
                                                       PLAINTIFF’S COMPLAINT [D.E. 1] AND
 DISCORD, INC., a for-profit corporation,              INCORPORATED MEMORANDUM OF
                                                       LAW
           Defendant.


           Defendant Discord, Inc. (“Discord”), through undersigned counsel, and pursuant to 28

 U.S.C. § 1404(a) respectfully requests that this Court transfer the Complaint [D.E.1] filed by

 Plaintiff Logan Bachstein (“Plaintiff”) to the U.S. District Court for the Northern District of

 California. Alternatively, pursuant to Federal Rule of Civil Procedure 12(b)(2), (b)(6) and Local

 Rule 3.01, Discord respectfully requests that this Court dismiss Plaintiff’s Complaint for lack of

 personal jurisdiction or failure to state a claim upon which relief can be granted.

           In support of this Motion, Discord states as follows:

 I.        INTRODUCTION

           Plaintiff’s claims against Discord should be transferred or dismissed. Plaintiff failed to

 file this lawsuit in the proper forum, Plaintiff has not provided a basis for this Court to exercise

 personal jurisdiction over Discord, and Discord cannot be held liable to Plaintiff under any

 theory.

           Plaintiff is a registered user of Discord, an online communications platform that allows

 people to communicate through channels, which include forums, communities, and chat rooms.

 While in one of these forums, Plaintiff encountered another user named “Duke,” corresponded


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 with this other user, and then decided to give this other user access to Plaintiff’s computer to help

 Plaintiff retrieve his Bitcoin, a type of virtual currency. Unfortunately, instead of helping

 Plaintiff, this other user apparently stole Plaintiff’s Bitcoin. But instead of suing the user,

 Plaintiff has decided to sue Discord.

         The lawsuit against Discord fails for multiple reasons.

         First, the case is filed in the wrong court. When signing up for Discord, Plaintiff agreed

 to its Terms of Service (“Terms”), which contain a forum-selection clause requiring any federal

 action against Discord to be brought in the Northern District of California. Plaintiff improperly

 filed this lawsuit in this District, and under the plan language of the applicable Terms, the lawsuit

 must be transferred to the Northern District of California.

         Alternatively, Plaintiff’s claims should be dismissed for lack of personal jurisdiction, as

 Discord has no connection to this forum and there is no basis for general or specific jurisdiction.

         Finally, Plaintiff has not sufficiently pled his claims and, even if he had, his claims are

 foreclosed by applicable law and the plain language of the Terms. First, Plaintiff’s claims are

 barred by the federal Communications Decency Act, 47 U.S.C. § 230(c)(1) (“CDA”), which

 immunizes service providers like Discord from liability for allowing content or choosing not to

 remove content from their services. At bottom, under the CDA, Discord cannot be held liable for

 the unlawful conduct of the user who stole the Bitcoin from Plaintiff.

         Second, the Complaint also fails to state any cognizable claim against Discord. Plaintiff

 has not pled the elements of his claims and the Terms expressly provide that Discord is not liable

 to Plaintiff in these circumstances. Under the Terms:

            Users are required to acknowledge that any user content, including chats, posted by
             other users are neither endorsed nor controlled by Discord;

            Discord disclaims any liability for interactions between users;

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             Discord disclaims any obligation to monitor chatrooms;

             Discord expressly states that it is not responsible for information that users choose to
              share on Discord’s channels or for the actions of other users; and

             Discord explains that it is not liable for any lost data arising from use of its service.

         Compounding these deficiencies, Plaintiff rests his entire complaint on an unsupported

 allegation: that the user who stole his Bitcoin is employed by Discord because he is a moderator.

 This allegation is implausible because (1) Plaintiff’s own Complaint contradicts itself on this

 point by pointing to a news article that confirms Discord does not have moderators on staff and

 (2) Plaintiff claims that he asked Discord for the identity of the user and concedes that Discord

 did not know such user’s identity. And regardless, the allegation does not change that the lawsuit

 is brought in the wrong court, there is no basis provided for exercising personal jurisdiction over

 Plaintiff, and that Plaintiff has otherwise failed to sufficiently plead his claims.

         Ultimately, if Plaintiff has any remedy, it is against the person who misappropriated his

 Bitcoin, not against Discord, which just happens to be the online forum through which the user

 contacted Plaintiff and nothing more. Accordingly, and as set forth more fully below, Discord

 respectfully requests that the Court transfer or dismiss Plaintiff’s claims.

 II.     FACTUAL BACKGROUND

         A.       Discord’s Business and Service.

         Discord is a free online platform with over 250 million users. [Compl. ¶¶ 2-3.] Discord

 provides various communication channels such as forums, communities, or chat areas to enable

 people to communicate regarding their common interests. [Id.] Discord’s forums are moderated

 by other users of Discord’s service. [Id. ¶ 18.] As referred to in the Complaint, Discord does not

 employ moderators. [See id. ¶ 5 n.2 (citing https://gizmodo.com/how-a-video-game-chat-client-



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 became-the-web-s-new-cessp-1792039566) (“[Discord] has only five ‘customer experience’

 personnel and no moderators on its staff.”) (emphasis added); Declaration of Sean Li (“Li

 Decl.”) ¶ 8.; Declaration of Julie E. Schwartz (“Schwartz Decl.”), Ex. A 1.] Discord is

 headquartered and located in San Francisco, California. [Compl. ¶ 10.] Discord does not have

 any offices or employees in the State of Florida and is not registered to do business there. [Li

 Decl. ¶¶ 6-7.]

          B.      Plaintiff’s Agreement to Discord’s Terms.

          To use Discord, a person must first create an account and affirmatively agree to Discord’s

 Terms and Privacy Policy. [Li Decl. ¶ 10.] Plaintiff signed up for Discord on February 21, 2016 2

 and completed a signup process that required him to first enter his email address. [Id.] He was

 presented with a message that, by registering for Discord, he was agreeing to the Terms and

 Privacy Policy, which were linked to the message. [Id. ¶ 11.] To complete the signup process,

 Plaintiff had to click the button signifying that he agreed to the Terms and Privacy Policy. [Id.]

          The Terms in place at the time Plaintiff signed up for Discord contained a forum-

 selection clause designating Santa Clara, California as the sole venue for all disputes arising in

 1
   For purposes of its Rule 12(b)(6) motion to dismiss, Discord requests that the Court deem
 Exhibits A-B attached to the Schwartz Declaration and Exhibits C-G to the Li Declaration
 incorporated by reference, as the website (Exhibit A to Schwartz Declaration), Community
 Guidelines (Exhibit B to Schwartz Declaration) and Terms (Exhibits C-G to Li Declaration) are
 referenced in the Complaint, their authenticity cannot be disputed, and the documents are central
 to Plaintiff’s claims that Discord can be liable to Plaintiff for the actions of moderators. Horsley
 v. Feldt, 304 F.3d 1125, 1134 (11th Cir. 2002). Alternatively, Exhibits A and B to the Schwartz
 Declaration are websites subject to judicial notice. Setai Hotel Acquisition, LLC v. Miami Beach
 Luxury Rentals, Inc., No. 16-21296-Civ-Scola, 2017 WL 3503371, at *7 (S.D. Fla. Aug. 15,
 2017). The remaining evidence in the Li Declaration is intended to support Discord’s motion to
 transfer and Rule 12(b)(2) motion to dismiss, and Discord does not reference or rely on it in
 connection with the Rule 12(b)(6) motion.
 2
     At that time, Discord Inc. was named Hammer & Chisel Inc.


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 connection with Discord’s services. [Id., Ex. C.] The Terms also specified that California law

 applies. [Id.] Notably, among other things, the Terms also provided that Discord does not

 monitor chat rooms, does not control or endorse communications from other users, and that it

 cannot be liable for injuries resulting from interactions between users on the service. [Id.]

        Plaintiff concedes that the Terms (as well as the Community Guidelines) are binding.

 [Compl. ¶¶ 6, 8, 25, 108.] Nonetheless, on August 12, 2019, Plaintiff filed his lawsuit in this

 Court, ignoring the agreed-upon forum selection clause and other provisions of the Terms that

 foreclose his lawsuit entirely. [D.E. 1.]

        C.      Plaintiff’s Allegations Against Discord.

        Plaintiff’s claims arise from his interactions on Discord with a user named “Duke.”

 Plaintiff met the user in a Discord channel called “Premium Signals,” which is a forum for

 people with an interest in Bitcoin and other cryptocurrencies. [Compl. ¶ 17.] Plaintiff claims that

 this user served as the moderator for this channel. [Id. ¶ 20.]

        Plaintiff alleges that moderators are individuals who administer and facilitate channels or

 chatrooms. [Id. ¶ 18.] He claims that “[a] moderator’s duties might range from introducing

 discussion topics, facilitating ongoing discussions, reviewing links published in the chatroom,

 notifying administrators about abusive or disruptive chatroom members, and enforcing Discord’s

 community rules and guidelines.” [Id.] He also claims that moderators are “tasked with

 troubleshooting and providing support and/or services for [Discord’s] users.” [Id. ¶ 79.] Plaintiff

 claims that the user who misappropriated his Bitcoin was one of these “moderators” and

 therefore had these same duties or responsibilities. [Id. ¶ 80.]

        According to Plaintiff, on or about June 6, 2018, the user offered to remotely access

 Plaintiff’s computer to help him recover newly forked Bitcoin in his digital wallet. [Id. ¶¶ 29,



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 49.] However, instead of helping him, the user accessed the Bitcoin stored in Plaintiff’s digital

 wallet and transferred it to their own wallet. [Id. ¶¶ 30, 31, 94.] Upon discovering the user’s

 misappropriation, Plaintiff immediately notified Discord. [Id. ¶¶ 59-61.] Discord responded that

 it did not have any information that could help identify or track the user. [Id. ¶¶ 60-63.]

        Although Discord could not identify the user, Plaintiff claims that Discord should be

 liable because the user was a moderator and, therefore, a Discord employee. [Id. ¶¶ 101-103.]

 Plaintiff claims that Discord failed to properly train, supervise, run background checks, or gain

 basic information on the identities of moderators. [Id. ¶¶ 85-86, 107, 111.] Plaintiff’s allegation

 about Discord’s purported relationship with the user are contradicted by an article cited in his

 Complaint that says Discord does not have moderators on its staff. [See id. ¶ 5 n.2 (citing

 https://gizmodo.com/how-a-video-game-chat-client-became-the-web-s-new-cessp-1792039566)

 (“[Discord] has only five ‘customer experience’ personnel and no moderators on its staff.”)

 (emphasis added); Schwartz Decl., Ex. A.]

        Plaintiff also alleges that Discord failed to enforce its Terms, Community Guidelines, or

 rules of conduct, or to implement steps, protocols, or procedures to eliminate criminal activity on

 its site. [Compl. ¶¶ 88, 90-91, 108-109, 111-112, 114.] Plaintiff maintains that, due to Discord’s

 actions or omissions, Plaintiff is entitled to damages. [Id. ¶¶ 92, 109, 115.] Plaintiff again fails to

 appreciate that the Terms, which govern and, disclaim the obligations Plaintiff claims Discord

 assumed and that Discord cannot be liable for the actions or conduct of the people who use its

 service.

        Plaintiff brings claims for negligence (Count 1), aiding and abetting conversion (Count

 2), respondeat superior (Count 3), negligent training and supervision (Count 4), and negligent




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 hiring and retention (Count 5). Plaintiff’s claims fail as a matter of law and they cannot be cured

 by amendment. The case should therefore be transferred or dismissed with prejudice.

 III.   ARGUMENT

        A.      Plaintiff’s Claims Should be Transferred to the Northern District of
                California.

        As a preliminary matter, Plaintiff’s claims against Discord should be transferred to the

 U.S. District Court for the Northern District of California because the parties agreed to a forum-

 selection clause providing that “[a]ny claim or dispute between you and [Discord] that arises in

 whole or in part from these Terms or your use of the Service ... shall be decided exclusively by a

 court of competent jurisdiction located in Santa Clara County, California … .” [Li Decl., Ex. C.]

        As a general rule, “‘[w]hen the parties have agreed to a valid forum-selection clause, a

 district court should ordinarily transfer the case to the forum specified in that clause.’” Atl.

 Marine Const. Co. v. U.S. Dist. Court for W. Dist. of Texas, 571 U.S. 49, 62 (2013). The plaintiff

 “bear[s] the burden of showing why the court should not transfer the case to the forum to which

 the parties agreed” and “[t]he plaintiff’s subsequent choice of forum merits no weight.” Id. at 63-

 64. “[T]he practical result is that a forum-selection clause should control except in unusual

 cases” and “[o]nly under extraordinary circumstances unrelated to the convenience of the parties

 should a § 1404(a) motion be denied.” Id. at 62, 64 (internal quotation marks omitted). Here, the

 parties’ forum-selection clause is mandatory, applicable, enforceable and, under 28 U.S.C.

 § 1404(a), requires transfer of Plaintiff’s claims.

                1.      The Forum-Selection Clause is Mandatory

        Mandatory forum-selection clauses are presumptively valid and should be enforced

 absent a strong showing that enforcement would be unfair or unreasonable. See Carnival Cruise

 Lines, Inc. v. Shute, 499 U.S. 585, 593-95 (1991) (upholding the validity of a forum-selection


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 clause). Here, Discord’s forum-selection clause is mandatory because its language designates an

 exclusive forum. Specifically, the Terms in place when Plaintiff registered for Discord provide:

                [a]ny claim or dispute between you and [Discord] that arises in
                whole or in part from these Terms or your use of the Service ...
                shall be decided exclusively by a court of competent jurisdiction
                located in Santa Clara County, California, and you hereby consent
                to, and waive all defenses of lack of personal jurisdiction and
                forum non conveniens with respect to venue and jurisdiction in the
                state and federal courts of Santa Clara County, California.

 [Li Decl., Ex. C.] This language is unambiguous—the only venue where covered claims can be

 brought is in Santa Clara County, which falls within the Northern District of California. 3 Thus,

 the forum-selection clause is mandatory and should be enforced.

                2.      Plaintiff’s Claims Fall Within the Scope of the Clause

        In addition, the scope of the forum-selection clause encompasses this dispute. The scope

 and enforcement of a forum-selection clause is a matter of contract. AutoNation, Inc. v. Hall, No.

 10-60291-CIV-ALTONAGA/Seltzer, 2019 WL 3712008, at *7 (S.D. Fla. May 29, 2019)

 (quoting Alexander Proudfoot Co. World Headquarters v. Thayer, 877 F.2d 912, 921 (11th Cir.

 1989)). And contractual terms are given their plain meaning when terms are clear and

 unambiguous. Id. Here, the forum-selection clause encompasses “[a]ny claim or dispute

 between you and [Discord] that arises in whole or in part from these Terms or your use of the

 Service,” which encompasses all of Plaintiff’s claims. [Li Decl., Exh. C.]

                3.      The Forum-Selection Clause is Enforceable

        Finally, a forum-selection clause is enforceable unless the plaintiff makes a “strong

 showing” that (1) its formation was induced by fraud or overreaching; (2) the plaintiff would be



 3
  All subsequent version of Discord’s Terms have required federal lawsuits to be filed in the
 Northern District of California. [Li Decl., Exs. D-G.]


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 deprived of his day in court because of inconvenience or unfairness; (3) the chosen law would

 deprive the plaintiff of a remedy; or (4) enforcement of the clause would contravene public

 policy. Carrigg v. Gen. R.V. Ctr., Inc., No. 3:18-cv-654-J-34PDB, 2018 WL 5904447, at *6

 (M.D. Fla. Nov. 9, 2018).

        None of these exceptions is present here.

        First, there is no allegation that the forum-selection clause was induced by fraud or

 overreaching. Plaintiff is a Discord user that affirmatively sought to use Discord’s services and

 agreed to the applicable terms. [See, e.g., Compl. ¶ 17 (noting that “Plaintiff joined a chatroom

 online called ‘Premium Signals,’ which was hosted and owned by Discord.”)). If Plaintiff did not

 want to agree to the Terms, he could have chosen not to use Discord’s services. See, e.g., Soffin

 v. Echannel Network, Inc., No. 12-81279-CIV, 2014 WL 2938347, at *2 (S.D. Fla. June 30,

 2014) (enforcing Facebook’s forum-selection clause as to plaintiffs who agreed to the Terms

 when they signed up for accounts).

        Second, litigating this case in the Northern District of California would not be so

 “inconvenien[t] or unfair” that Plaintiff would be deprived of his day in court. Ideal Protein of

 Am., Inc. v. Allife Consulting, Inc., No. 8:19-CV-654-T-33CPT, 2019 WL 2358832, at *3 (M.D.

 Fla. June 4, 2019). Indeed, by agreeing to the forum-selection clause when he accepted the

 Terms, Plaintiff has “waive[d] the right to challenge the preselected forum as inconvenient.”

 Carrigg, 2018 WL 5904447 at *8 (quoting Alt. Marine, 571 U.S. at 64).

        Third, the laws of the State of California are not so “fundamentally unfair” that Plaintiff

 would be deprived of any remedy that might be available. Lipcon v. Underwriters at Lloyd’s,

 London, 148 F.3d 1285, 1296-97 (11th Cir. 1998). As noted below, the elements of the claims

 that Plaintiff raises are largely the same under both Florida and California law.



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         Finally, Plaintiff has not identified and cannot identify any reason why transferring the

  case would violate Florida’s public policy. Stone v. Barclays Bank PLC, No. 9:16-CV-81875-

  RLR, 2017 WL 766355, at *3 (S.D. Fla. Feb. 28, 2017) (quoting Stewart Org., Inc. v. Ricoh

  Corp., 487 U.S. 22, 33 (1988) (Kennedy, J., concurring)) (“the Supreme Court has held that a

  forum-selection clause should be given ‘controlling weight in all but the most exceptional cases’

  based on ‘extraordinary circumstances unrelated to the convenience of the parties.’”).

         Accordingly, because the forum-selection clause here is mandatory, covers this dispute

  and is enforceable, Plaintiff’s claims should be transferred to the Northern District of California.

         B.      Plaintiff’s Claims Should Be Dismissed for Lack of Personal Jurisdiction.

         Alternatively, Plaintiff’s claims should be dismissed because he has not met his burden to

  establish personal jurisdiction over Discord, which is headquartered in California, has no

  connection to Florida, and did not have any contacts directed towards Plaintiff in Florida. Fed. R.

  Civ. P. 12(b)(2); United Techs. Corp. v. Mazer, 556 F.3d 1260, 1274 (11th Cir. 2009).

         A court may exercise personal jurisdiction only to the extent permitted by Florida’s long

  arm statute. See Fla. Stat. § 48.193(1)-(2). General personal jurisdiction under Florida’s long arm

  statute is limited to only what is permissible under the federal Due Process Clause. Fraser v.

  Smith, 594 F.3d 842, 846 (11th Cir. 2010). Florida’s long arm statute also permits specific

  personal jurisdiction, but that must also remain within the bounds of the federal Due Process

  Clause. United Techs. Corp., 556 F.3d at 1274. Neither is met here.

                 1.      General Jurisdiction Does Not Exist.

         Plaintiff has not alleged general personal jurisdiction over Discord. A corporation’s place

  of incorporation and principal place of business are the “paradigm” bases for general jurisdiction

  (for Discord, those places are Delaware and California, respectively) and courts in other states



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  may only exercise general jurisdiction in “exceptional case[s].” Daimler AG v. Bauman, 134 S.

  Ct. 746, 754, 761 (2014). “Exceptional cases” exist where a corporate defendant’s operations in

  another forum are “so substantial and of such a nature as to render the corporation at home in

  that State.” BNSF Ry. Co. v. Tyrrell, 137 S. Ct. 1549, 1558 (2017) (quotation omitted).

          Far from this being an “exceptional case,” Discord has no connection with Florida—it is

  located and headquartered in California, incorporated in Delaware, and has no offices or

  employees in Florida. [Compl. ¶ 10; Li Decl. ¶¶ 1-8, Ex. B.] Indeed, Discord is not even

  registered to do business in Florida. [Li Decl. ¶ 7.] Accordingly, there is no basis for general

  jurisdiction.

                  2.     Specific Jurisdiction Does Not Exist.

          Plaintiff also has not alleged specific personal jurisdiction over Discord. Florida’s long-

  arm statute provides for specific jurisdiction for, among other things, “any cause of action arising

  from ... [c]omitting a tortious act within [Florida].” Fla. Stat. § 48.193(1)(a)(2).

          Even so, this exercise of personal jurisdiction must comport with due process, which

  requires courts to consider (1) whether the plaintiff’s claims “arise out of or relate to” at least one

  of the defendant’s contacts with the forum; (2) whether the nonresident defendant “purposefully

  availed” himself of the privilege of conducting activities within the forum state, thus invoking

  the benefit of the forum state’s laws; and (3) whether the exercise of personal jurisdiction

  comports with “traditional notions of fair play and substantial justice." Louis Vuitton Malletier,

  S.A. v. Mosseri, 736 F.3d 1339, 1355 (11th Cir. 2013) (citation omitted).

          Here, Plaintiff has not alleged any contacts by Discord with Florida, let alone ones

  sufficient to confer specific personal jurisdiction. Again, Discord has no offices or employees in

  Florida, no physical product inventory that it distributes to Florida, and it has no employment



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  relationship with the user who allegedly targeted Plaintiff. [Li Decl., ¶¶ 1-8, Ex. A.] At most,

  Plaintiff has alleged that Discord provided a free online platform, and that an unidentified

  Discord user stole Plaintiff’s virtual currency after talking to him on that platform. This does not

  subject Discord to specific jurisdiction. See Louis Vuitton Malletier, 736 F.3d at 1357-58.

          C.      Plaintiff Fails to State a Claim Against Discord.

          Even if the Court reaches the merits of Plaintiff’s claims, Plaintiff’s Complaint should be

  dismissed because Plaintiff has not stated and cannot state any claim against Discord.

          Under Fed. R. Civ. P. 12(b)(6), a plaintiff’s “[f]actual allegations must be enough to raise

  a right to relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545

  (2007). “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

  accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

  662, 678 (2009) (internal citation and quotation marks omitted). This requires a plaintiff to plead

  “factual content that allows the court to draw the reasonable inference that the defendant is liable

  for the misconduct alleged.” Id.; see also Goldin v. Boce Grp., L.C., 773 F. Supp. 2d 1376, 1378

  (S.D. Fla. 2011) (“To survive a motion to dismiss, a complaint must allege both a cognizable

  legal theory and sufficient facts to support it.”). “Threadbare recitals of the elements of a cause

  of action, supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678.

          Here, Plaintiff’s claims are barred entirely by the CDA. They improperly seek to hold

  Discord, an interactive computer service, liable based only on the fact that an unidentified person

  used its platform to steal Bitcoin from Plaintiff, and Discord had allowed the thief to have an

  account. Further, Plaintiff has failed to allege sufficient facts to support his claims.




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                 1.      Plaintiff’s Claims Are Barred by the Communications Decency Act.

         Section 230(c)(1) of the CDA provides that “[n]o provider or user of an interactive

  computer service shall be treated as the publisher or speaker of any information provided by

  another information content provider.” 47 U.S.C. § 230(c)(1). The CDA’s purpose is to

  encourage the development of online platforms and encourage Internet companies to exercise

  editorial control over material on their services. Id. § 230(b)(1), (4) (Congress’s intention was to

  “promote the continued development of the Internet and other interactive computer services” and

  to encourage “the development and utilization of blocking and filtering technologies”).

         Accordingly, courts apply Section 230 immunity broadly “to protect websites not merely

  from ultimate liability, but from having to fight costly and protracted legal battles.” Fair Hous.

  Council of San Fernando Valley v. Roommates.Com, LLC, 521 F.3d 1157, 1175 (9th Cir. 2008)

  (en banc). A defendant is entitled to this immunity if (1) the defendant provides an “interactive

  computer service,” (2) plaintiff’s claim treats the defendant as the “publisher” or “speaker” of the

  offending content, and (3) the content was “provided by another information content provider.”

  Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1100-01 (9th Cir. 2009), as amended (Sept. 28, 2009).

         CDA immunity applies so long as these requirements are met and the cause of action is

  not exempted. See 47 U.S.C. § 230(e)(1)-(5). “[W]hat matters is not the name of the cause of

  action. . . [but] whether the cause of action inherently requires the court to treat the defendant as

  the ‘publisher or speaker’ of the content provided.” Barnes, 570 F.3d at 1101-02. Indeed, “[t]he

  CDA preempts state law that is contrary to this subsection.” Almeida v. Amazon.com, Inc., 456

  F.3d 1316, 1321 (11th Cir. 2006); see also Dowbenko v. Google Inc., 582 Fed. App’x. 801, 804




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  (11th Cir. 2014); Mezey v. Twitter, Inc., No. 1:18-cv-21069-KMM, 2018 WL 5306769, at *1

  (S.D. Fla. July 19, 2018).4

         Here, all three requirements for CDA immunity are easily satisfied and, therefore,

  Plaintiff’s claims should be dismissed in their entirety without leave to amend.

                         a.      Discord is an “Interactive Computer Service.”

         Discord meets the first requirement for CDA immunity because it provides an interactive

  computer service, which is “any information service, system, or access software provider that

  provides or enables computer access by multiple users to a computer server.” 47 U.S.C.

  § 230(f)(2). An “access software provider” is “a provider of software (including client or server

  software), or enabling tools that do any one or more of the following: [] filter, screen, allow, or

  disallow content; [] pick, choose, analyze, or digest content; or [] transmit, receive, display,

  forward, cache, search, subset, organize, reorganize, or translate content.” Id. § 230(f)(4).

         As an information service and system and a website that transmits, receives, displays,

  organizes, and hosts content, provides software, and allows communications, Discord easily

  meets this definition. See, e.g., Doe v. MySpace, Inc., 528 F.3d 413, 415 (5th Cir. 2008) (treating

  MySpace as an interactive computer service); Green v. Am. Online (AOL), 318 F.3d 465, 469 (3d

  Cir. 2003) (finding that AOL is “undisputed[ly]” an interactive computer service); Fields v.

  Twitter, Inc., 217 F. Supp. 3d 1116, 1121 (N.D. Cal. 2016) (holding that Twitter is an interactive

  computer service); see also Barnes, 570 F.3d at 1101 (holding that Yahoo! is a provider of an

  4
    In other words, “courts must ask whether the duty that the plaintiff alleges the defendant
  violated derives from the defendant’s status or conduct as a ‘publisher or speaker.’ If it does,
  section 230(c)(1) precludes liability,” Fields, 217 F. Supp. at 1121, including for civil rights
  causes of action that stem from editorial decisions, see Langdon v. Google, Inc., 474 F. Supp. 2d
  622, 631 (D. Del. 2007) (finding Google and Microsoft immune under the CDA from claimed
  civil rights violations “relating to the monitoring, screening, and deletion of content from their
  network”).


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  interactive computer service because it allowed users to post public profiles on the Internet);

  Sikhs for Justice “SFJ”, Inc. v. Facebook, Inc., 144 F. Supp. 3d 1088, 1093 (N.D. Cal. 2015)

  (holding that Facebook is a provider of an interactive computer service because it “provides or

  enables computer access by multiple users to a computer service”).

                         b.      Plaintiff’s Claims Treat Discord as a Publisher.

         Discord also meets the second requirement for CDA immunity because Plaintiff’s claims

  treat Discord as a publisher and arise from publisher activity. Courts have held repeatedly that

  where a person uses an online platform to conduct unlawful activity, such as creating false

  profiles to engage in stalking, violating lease agreements, or other unlawful conduct, the platform

  is being treated as a publisher and cannot be liable for the conduct. See, e.g., Herrick v. Grindr

  LLC, 765 Fed. App’x. 586, 590 (2d. Cir. 2019) (holding that the CDA barred claims against

  provider arising from a user’s creation of a false dating profile); Doe v. GTE Corp., 347 F.3d

  655, 659 (7th Cir. 2003) (upholding dismissal of claims against service provider under the CDA

  and noting “[t]hat web hosting services . . . may be used to carry out illegal activities does not

  justify condemning their provision whenever a given customer turns out to be crooked”); La

  Park La Brea A LLC v. Airbnb, Inc., 285 F. Supp. 3d 1097, 1105 (C.D. Cal. 2017) (the CDA

  barred claims against Airbnb relating to listings of properties that violated lease agreements).

         For example, in Doe v. MySpace, 528 F.3d 413 (5th Cir. 2008), the Fifth Circuit found

  that claims against the online social network MySpace were barred because the essence of

  plaintiff’s claim was that “[i]f MySpace had not published communications between Julie Doe

  and Solis, including personal contact information … they never would have met and the sexual

  assault never would have occurred.” Id. at 419-20. Accordingly, plaintiff sought to hold

  MySpace liable based on its “publishing, editorial and/or screening capacities” despite plaintiff’s



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  position that it sought to hold MySpace liable for its failure to implement measures that would

  have prevented the communication. Id. To the contrary, the plaintiff’s “allegations [were] merely

  another way of claiming that MySpace was liable for publishing communications and they speak

  to MySpace’s role as a publisher of online third-party generated content.” Id. at 420.

         Likewise, here, the crux of Plaintiff’s claims is that Plaintiff would not have been harmed

  if Discord had not published communications between Plaintiff and the user. And although

  Plaintiff, like the plaintiff in the MySpace case, might try instead to claim that his injury never

  would have happened if Discord had implemented protocols to prevent the interactions, that does

  not change the CDA analysis. Plaintiff is targeting Discord’s publishing and screening activity.

                         c.      The User Who Stole Plaintiff’s Bitcoin is the Information
                                 Content Provider.

         Finally, the user who stole Plaintiff’s Bitcoin—not Discord—is the “information content

  provider.” The user created the account at issue, made the false statements to Plaintiff that

  induced Plaintiff to allow access to his computer, and ultimately stole the Bitcoin. See, e.g.,

  Carafano v. Metrosplash.com, Inc., 339 F.3d 1119, 1124-25 (9th Cir. 2003). The third

  requirement for immunity is therefore met.

         Having satisfied these three requirements, Discord is immune under Section 230(c)(1) of

  the CDA from all Plaintiff’s claims arising from online interactions on Discord’s platform—that

  is, all his claims—and this grant of legal immunity cannot be cured by amendment.

                 2.      Plaintiff Has Not Alleged and Cannot Allege any Viable Claims.

         Even if all of Plaintiff’s claims were not barred by the CDA, he has failed to plead their

  elements in any event. Plaintiff’s Complaint therefore fails for these additional reasons.




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                         a.      Plaintiff Fails to Plausibly Allege Negligence (Counts 1, 4, 5).

         Plaintiff alleges several variations on negligence: negligence, negligent training and

  supervision, and negligent hiring and retention. All fail because Discord had no duty to Plaintiff.

                                  i.   Plaintiff has not alleged a duty so all of his claims that are
                                       grounded in negligence fail.

         Plaintiff’s claims for negligence, negligent training and supervision, and negligent hiring

  and retention fail because Plaintiff has not identified any duty that Discord owed to Plaintiff. 5

  Virgilio v. Ryland Grp., Inc., 680 F.3d 1329, 1339 (11th Cir. 2012) (“establishing the existence

  of a duty under [Florida’s] negligence law is a minimum threshold legal requirement that opens

  the courthouse doors ... and is ultimately a question of law for the court rather than a jury.”).

         Plaintiff claims that Discord had a duty to (1) know the true identity of its moderators,

  (2) put in place procedures and security protocols to identify, track, and ascertain the identity of

  its moderators, and (3) prevent employees, moderators, staff, or agents from misappropriating

  currency and other criminal activity. [Compl. ¶¶ 107-108.] However, Plaintiff does not identify

  any source that these duties arise from and, indeed, there is none. See, e.g., Worldwide Media,

  Inc. v. Twitter, Inc., No. 17-CV-07335-VKD, 2018 WL 5304852, at *9 (N.D. Cal. Oct. 24, 2018)

  (dismissing negligence claims against Twitter because the plaintiff failed to identify the source

  of Twitter’s alleged duty regarding security protocols).

         Moreover, all the duties Plaintiff identifies with regard to content on Discord, monitoring

  content, the conduct of users, or disputes between users of the service, are expressly disclaimed

  in the Terms governing the parties’ relationship. For example:




  5
   Similarly, under California law, for negligence, a plaintiff must plead (1) duty; (2) breach; (3)
  causation; and (4) damages. Ileto v. Glock, Inc., 349 F.3d 1191, 1203 (9th Cir. 2003).


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            “The Service provides communication channels such as forums, communities, or chat
             areas … designed to enable you to communicate with other Service users. The
             Company has no obligation to monitor these communication channels but it may do
             so in connection with providing the Service.” 6

            “You acknowledge that any user content (including without limitation chats, postings,
             or materials posted by users) on the Communication Channels is neither endorsed
             nor controlled by us. The Company will not under any circumstances be liable for
             any activity within Communication Channels. The Company is not responsible for
             information that you choose to share on the Communication Channels, or for the
             actions of other users.”

             “The Company does not guarantee the accuracy, quality, or integrity of any user
             content posted. … You agree that the Company will not under any circumstances be
             liable for any user content, including, but not limited to, errors in any user content,
             or any loss or damage incurred by use of user content.”

            “IN NO EVENT WILL THE COMPANY, BE LIABLE TO YOU … FOR ANY
             CONSEQUENTIAL, INCIDENTAL, SPECIAL, PUNITIVE OR OTHER
             INDIRECT DAMAGES, INCLUDING ANY LOST PROFITS OR LOST DATA,
             ARISING FROM YOUR USE OF THE SERVICE …”

            “You are solely responsible for your interaction with other users of the Service and
             other parties that you come in contact with through the Service. The Company hereby
             disclaims any and all liability to you or any third party relating to your use of the
             Service. The Company reserves the right, but has no obligation, to manage disputes
             between you and other users of the Service.”

  [Li Decl, Ex. C (emphases added).]

         Thus, Discord did not undertake any duty to Plaintiff and, indeed, expressly disclaimed

  any such duty. See, e.g., Young v. Facebook, Inc., No. 5:10-CV-03579-JF/PVT, 2010 WL

  4269304, at *5 (N.D. Cal. Oct. 25, 2010) (“Young alleges that Facebook had a ‘duty to use due

  care when hiring and training personnel to monitor and enforce website activity according to

  their outlined contractual agreement’ ... However, as noted above, the Statement of Rights and

  Responsibilities expressly disclaims any duty to provide for the safety of Facebook users.”).

  6
    Discord’s guidelines, incorporated into the Terms, state “we do not actively monitor and aren’t
  responsible for any activity or content that is posted….” [Schwartz Decl., Ex. B.] The same or
  similar disclaimers are found in all versions of the Terms. [Li Decl., Exs. C-G.]


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         Additionally, a duty of care arises only as to foreseeable injuries. See, e.g., Pinchinat v.

  Graco Children's Prods., Inc., 390 F. Supp. 2d 1141, 1149 (M.D. Fla. 2005) (finding that “a

  manufacturer must take reasonable precautions to avoid reasonably foreseeable injuries to the

  users of its products”); Posen Const., Inc. v. Lee Cty., 921 F. Supp. 2d 1350 (M.D. Fla. 2013)

  (“[u]nder Florida law, supervising architects and engineers are liable for the foreseeable injuries

  to general contractors proximately caused by their negligent conduct”). Indeed, the duties that

  Plaintiff identifies for moderators do not include any off-platform responsibilities that would

  involve computer access. And further, it is implausible to suggest that even if there was some

  duty, Discord could have been expected to foresee that an unidentified user would steal Bitcoin

  from Plaintiff. It simply was not foreseeable that Plaintiff would have allowed a Discord user to

  access Plaintiff’s computer and obtain his Bitcoin, particularly in light of the plain language of

  the Terms.

                                 ii.    Plaintiff has not alleged an employment relationship and
                                        his negligence claims fail for that additional reason.

         Plaintiff’s claims for negligent hiring, supervision, and retention fail for the additional

  reason that Plaintiff has not plausibly alleged an employment relationship between Discord and

  the user. English v. Pickles Rest. Grp., LLC, No. 6:06-cv-1561-Orl-28Dab, 2007 WL 9719294, at

  *3 (M.D. Fla. Apr. 4, 2007); see also Stires v. Carnival Corp., 243 F. Supp. 2d 1313, 1318 (M.D.

  Fla. 2002).7 In fact, Plaintiff claims that Discord did not even know the identity of the user, and

  he cites an article that confirms that Discord does not employ any moderators. [Id. ¶¶ 85-86, 107,

  111.; see id. ¶ 5 n.2 (citing https://gizmodo.com/how-a-video-game-chat-client-became-the-web-

  7
    California law also requires Plaintiff to plausibly allege the user is a Discord employee. See
  Doe v. Uber Techs., Inc., 184 F. Supp. 3d 774, 788 (N.D. Cal. 2016) (“[A]n employer may be
  held directly liable for the behavior of an unfit employee where the employer was negligent in
  the hiring, training, supervising, or retaining of that employee.”).


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  s-new-cessp-1792039566) (“[Discord] has only five ‘customer experience’ personnel and no

  moderators on its staff.”) (emphasis added); Schwartz Decl., Ex. A.] It strains credulity that the

  user is a Discord employee, and Discord cannot be liable for negligently hiring, supervising, or

  retaining a non-employee.

                          b.      Plaintiff Fails to Allege a Claim for Respondeat Superior

          Plaintiff’s respondeat superior claim fails because Discord is not the user’s employer and

  an employer is liable for an employee’s intentional torts only if the alleged wrongs were

  committed within real or apparent scope of employer’s business. Sparks v. Jay’s A.C. &

  Refrigeration, Inc., 971 F.Supp. 1433, 1436 (M.D. Fla. 1997). Conduct is within the scope of

  employment if conduct is the kind the employee is hired to perform, it occurs within the time and

  space limits of the job, and it is activated at least in part by a desire to serve the employer. Id.8

          Again, as evidenced by Plaintiff’s own Complaint, the user who stole his Bitcoin is not a

  Discord employee, and Plaintiff’s respondeat superior claim fails for this reason alone. But even

  if an employment relationship existed, Discord could not be liable as the employer because the

  user’s actions could not have been foreseeable to Discord, nor were they motivated by a desire to

  serve Discord. Rather, the user’s actions were criminal in nature and well outside the scope of

  any purported job responsibilities, which relate only to helping Discord users with issues they

  experience in chat rooms (and not off-platform) and clearly would not encompass stealing from

  users of the service. [Compl. ¶¶ 79, 101, 103.] Plaintiff’s respondeat superior theory fails.




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   Similarly, under California law, “employers are liable for acts of their employees occurring
  within the scope of their employment.” Nationwide Mut. Ins. Co. v. Liberatore, 408 F.3d 1158,
  1163 (9th Cir. 2005).


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                         c.      Plaintiff Fails to Plausibly Allege a Claim for Aiding and
                                 Abetting Conversion.

         Plaintiff’s conclusory allegations are insufficient to state an aiding and abetting claim. In

  Florida, aiding and abetting requires: (1) an underlying violation on the part of the primary

  wrongdoer; (2) knowledge of the underlying violation by alleged aider and abettor; and (3) the

  rendering of substantial assistance in committing the wrongdoing by the alleged aider and

  abettor. Wiand v. Wells Fargo Bank, N.A., 938 F. Supp. 2d 1238 (M.D. Fla. 2013).9

         First, Discord only acquired knowledge of the user’s conversion after Plaintiff notified

  Discord. Id. ¶¶ 59-61. Plaintiff alleges no facts to show that Discord knew of the conversion

  beforehand. Id. at 1244 (“circumstantial evidence must demonstrate that the aider-and-abettor

  actually knew of the underlying wrongs committed”) (emphasis in original); see also Angell v.

  Allergan Sales, LLC, No. 3:18-CV-282-J-34JBT, 2019 WL 3958262, at *9 (M.D. Fla. Aug. 22,

  2019) (finding that “allegations which demonstrate merely constructive knowledge, recklessness

  or gross negligence cannot satisfy the ‘knowledge’ element of an aiding and abetting claim under

  Florida law.”) (emphasis added).

         Second, substantial assistance requires significant, active, and knowing participation in

  the wrong; mere inaction is not enough. In re Palm Beach Fin. Partners, L.P., 517 B.R. 310,

  348 (Bkrtcy. S.D. Fla. 2013) (finding that the “allegations, which amount to nothing more than

  inaction, do not rise to [the] level of substantial assistance and thus cannot provide the basis for


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    California law similarly requires a defendant’s “actual knowledge of the specific primary
  wrong the defendant substantially assisted” which is construed as “an intentional participation
  with knowledge of the object to be attained.” Casey v. U.S. Bank Nat’l Ass’n, 127 Cal. App. 4th
  1138, 1145-46 (2005) (emphasis in original); see also Howard v. Superior Court, 2 Cal. App. 4th
  745, 749 (1992), modified (Feb. 10, 1992) (aiding and abetting “necessarily requires a defendant
  to reach a conscious decision to participate in tortious activity for the purpose of assisting
  another in performing a wrongful act”).


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  aiding and abetting liability.”); see also In re Rollaguard Sec., LLC, 591 B.R. 895, 923 (Bkrtcy.

  S.D. Fla. 2018) (quoting Hsi Chang v. JPMorgan Chase Bank, N.A., 845 F.3d 1087, 1098 (11th

  Cir. 2017)).

         At most, Plaintiff alleges that Discord failed to act to prevent the user’s misappropriation

  of his Bitcoin. Id. ¶¶ 96-97 (alleging that Discord aided and abetted the user’s conversion by

  ignoring policies and procedures, by not implementing protocols to know the true identity of its

  moderators, and by allowing criminal and illicit activity on its platform.). This is not significant,

  active, and knowing participation and is therefore insufficient. Accordingly, like the rest of his

  claims, Plaintiff’s claim for aiding and abetting conversion fails.

         D.      Plaintiff Should Be Denied Leave to Amend.

         The deficiencies in Plaintiff’s Complaint are incurable. “A proposed amendment may be

  denied for futility when the complaint as amended would still be properly dismissed.” Coventry

  First, LLC v. McCarty, 605 F.3d 865, 870 (11th Cir. 2010) (citation and quotations omitted).

  Here, Plaintiff cannot amend his claims to cure the deficiencies identified. At bottom, Discord is

  not liable for the user’s actions, and there is no theory that can overcome this flaw. Accordingly,

  if the Court reaches the merits of Plaintiff’s claims, they should be dismissed with leave to

  amend. See, e.g., Mezey, 2018 WL 5306769 (dismissing claims barred by CDA without leave to

  amend).

  IV.    CONCLUSION

         For these reasons, as might be further argued on reply, Discord respectfully requests that

  the Court (1) transfer the case pursuant to the parties’ forum-selection clause or (2) dismiss the

  Complaint for lack of personal jurisdiction. If the Court reaches the merits of the claims, Discord

  respectfully requests that the Court dismiss the case with prejudice for failure to state a claim.



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         WHEREFORE, Defendant Discord, Inc. respectfully requests this Court enter an Order

  dismissing Plaintiff Logan Bachstein’s Complaint [D.E. 1] for the reasons set forth herein,

  together with such further and other relief as this Court deems just and proper.



                                 CERTIFICATE OF CONFERRAL

         Prior to filing this Motion to Dismiss, the undersigned conferred with counsel for

  Plaintiff in a good faith effort to resolve the issues raised herein. Counsel for Plaintiff advised

  that he does not agree to the relief sought herein.


  Dated: September 23, 2019                                      Respectfully submitted,

                                                                   /s/ Lawren A. Zann
                                                                 Beth-Ann E. Krimsky, Esq.
                                                                 Fla. Bar No. 968412
                                                                 Lawren A. Zann, Esq.
                                                                 Fla. Bar No. 42997
                                                                 GREENSPOON MARDER LLP
                                                                 200 East Broward Boulevard
                                                                 Suite 1800
                                                                 Fort Lauderdale, FL 33301
                                                                 Tel: (954) 527-2427
                                                                 Fax: (954) 333-4027
                                                                 beth-ann.krimsky@gmlaw.com
                                                                 lawren.zann@gmlaw.com

                                                                         -and-

                                                                 Julie E. Schwartz, Esq.
                                                                 Pro Hac Vice Admitted
                                                                 PERKINS COIE LLP
                                                                 3150 Porter Drive
                                                                 Palo Alto, CA 93404
                                                                 Tel: (650) 838-4490
                                                                 Fax: (650) 838-4690
                                                                 jschwartz@perkinscoie.com

                                                                 Attorneys for Discord, Inc.



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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 23, 2019, I electronically filed the foregoing

  Motion to Transfer or, in the alternative, Dismiss with the Clerk of the Court using the CM/ECF

  system, which foregoing document is also being served this date on all counsel of record via

  transmission of Notices of Electronic Filing generated by CM/ECF.

                                                             /s/ Lawren A. Zann
                                                            Lawren A. Zann




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